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 13
                                UNITED STATES DISTRICT COURT
 14
                              CENTRAL DISTRICT OF CALIFORNIA
 15
                                        WESTERN DIVISION
 16
       BARRY BRAVERMAN, et al.,                          No. 8:16-cv-00966-TJH-SS
 17
                                  Plaintiffs,            PLAINTIFFS’ REPLY IN
 18                                                      SUPPORT OF MOTION TO
                v.                                       EXCLUDE THE OPINIONS
 19                                                      OF DEFENDANTS’ PROPOSED
       BMW OF NORTH AMERICA, LLC,                        EXPERT, DR. JONATHAN
 20    et al.,                                           HIBBARD
 21
                                    Defendants.          Hearing Date: TBD
 22                                                      Time: TBD
                                                         Judge: Hon. Terry J. Hatter, Jr.
 23                                                      Courtroom: 9B
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             PLFS’ REPLY ISO MOTION TO EXCLUDE THE OPINIONS OF DEFENDANTS’ PROPOSED EXPERT,
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  1                                  I.     INTRODUCTION
  2          BMW has not articulated any legitimate basis for the Court to consider
  3    Dr. Hibbard’s proffered expert testimony. It contends that the evidence he offers on
  4    class member knowledge of the defect and its materiality to them would assist the
  5    Court’s predominance assessment under Mazza v. Am. Honda Motor Co., 666 F.3d 581
  6    (9th Cir. 2012), by helping the Court to identify variation in class members’ exposure
  7    to the allegedly omitted information and its materiality to their decision to purchase or
  8    lease Class Cars. Dkt. No. 181 (“BMW’s Hibbard Opp’n”), at 4-5. As discussed in
  9    more detail in Section II.A, BMW is wrong for two reasons. First, class claims do not
 10    require individualized findings of deception or reliance, so the Court has no need to
 11    consider Dr. Hibbard’s evidence for purposes of determining whether individual issues
 12    predominate over common ones. Second, there is no variation in exposure to the
 13    deceptive conduct: BMW had an equal opportunity to reveal its defect (but did not) to
 14    all class members when they entered into purchase or lease agreements with BMW’s
 15    authorized dealers, making Hibbard’s opinion irrelevant.
 16          BMW also claims that Plaintiffs’ objections to Dr. Hibbard’s survey merely go
 17    to the weight of his testimony without reaching the reliability standards under Daubert.
 18    BMW’s Hibbard Opp’n at 1-2. This is also incorrect. Plaintiffs lay out several,
 19    compelling reasons why Dr. Hibbard’s hollow testimony does not satisfy even the
 20    relaxed Daubert standards of reliability at class certification. For a start, none of the
 21    conclusions he draws on class knowledge and reliability are logically supportable. All
 22    of his evidence on class knowledge (and by implication his evidence on materiality)
 23    rests on survey responses to a five-part compound question about the range extender,
 24    from which it is impossible to determine whether respondents intended to affirm
 25    knowledge of the defect or of other information he provided about the range extender
 26    (see Section II.B.2). Dr. Hibbard also draws invalid conclusions from survey responses
 27    that incorrectly affirmed knowledge of his description of the range extender that
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  1    included demonstrably false information, such as the presence of a warning light that
  2    did not exist for respondents who purchased or leased Class Cars in the first 40% of the
  3    Class Period (see Section II.B.3). For another, Dr. Hibbard’s survey suggests false
  4    memories to survey respondents by presenting incomplete and partly inaccurate
  5    information about the range extender to them on one screen and then asking them on a
  6    second screen to affirm or deny that they knew that information two to three years earlier
  7    (see Section II.B.4). His so-called “controlled study” not only does not control for
  8    distractions and inattention (see Section II.B.6), it trades on them by burying the crucial
  9    disclosure of the defect in the third of a five-sentence description, where respondents of
 10    the three-minute survey may not fully take it in (see Section II.B.5). Finally, BMW
 11    draws a false equivalence between Dr. Hibbard’s uniquely flawed survey on knowledge
 12    and Plaintiffs’ entirely unrelated conjoint analysis of consumer preferences. Unlike Dr.
 13    Hibbard’s survey, Plaintiffs’ conjoint analysis does not ask survey respondents to affirm
 14    or deny factual assertions, but rather it offers them choice sets and then uses their
 15    selections as the foundation for its statistical analysis of consumer preferences (see
 16    Section III).
 17                                      II.    ARGUMENT
 18    A.     The Court should disregard the results of Dr. Hibbard’s survey because it is
              not probative of Plaintiffs’ ability to prove their case on a class-wide basis.
 19

 20           For all the reasons just outlined, BMW’s proffered expert on class knowledge
 21    fails to meet Daubert reliability standards. But to resolve this motion, the Court need
 22    not evaluate Dr. Hibbard’s reliability because BMW has not even met the first hurdle of
 23    persuading the Court that any evidence of class member knowledge or materiality would
 24    substantially advance the Court’s evaluation of Plaintiffs’ class certification motion.
 25    BMW cannot meet this burden because class claims do not require individualized
 26    evidence of deception or reliance. See Dkt. Nos. 171 (sealed) & 123-3 (public) (“Class
 27    Cert. Br.”), at 16 & 16 n.76; Dkt. Nos. 173 (sealed) & 162-3 (public) (“Class Cert.
 28    Reply”) at 3-5; 17-21). The central question driving resolution of this case is whether a
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  1    reasonable person would find BMW’s omission deceptive. Evidence tending to prove
  2    or disprove actual class member deception only goes to the strength of the deception
  3    claim. It does not raise any issues that would require the jury to make individualized
  4    findings of fact or otherwise support BMW’s objections to class certification.
  5           BMW’s only argument for the relevance of class member knowledge and
  6    materiality relies on an incorrect interpretation of Mazza v. Am. Honda Motor Co., Inc.,
  7    666 F.3d 581 (9th Cir. 2012). For purposes of evaluating class members’ deceptive
  8    omission claims, Mazza does not, as BMW claims, require the Court to consider
  9    variation among class members’ knowledge of the defect or materiality. BMW’s
 10    Hibbard Opp’n at 1. Instead it merely requires the Court to restrict class membership
 11    to individuals who were exposed to, and therefore could have relied to their detriment
 12    on, BMW’s deceptive omission. 666 F.3d at 596. Plaintiffs meet this requirement
 13    because they restrict class membership to consumers who purchased or leased from
 14    authorized BMW dealers, to whom BMW expressly entrusted its duty to disclose the
 15    alleged defect. Class Cert. Reply at 5-6.
 16           Remarkably, BMW does not address Dickey v. Advanced Micro Devices, Inc.,
 17    2019 U.S. Dist. LEXIS 8740 (N.D. Cal. Jan. 17, 2019), discussed in prior briefing (Class
 18    Cert. Reply at 15), which rejected the very arguments BMW raises here in support of
 19    Dr. Hibbard. The Dickey court likewise considered certification of deceptive marketing
 20    claims, which did not require individualized proof of deception or reliance. The critical
 21    issue was whether the defendant’s marketing of its central processing unit as “8-core”
 22    was objectively deceptive as to the number of core processors. The court found the
 23    defense expert’s survey on consumer expectations of the number of core processors in
 24    the defendant’s component not worthy of consideration because it related only to the
 25    merits of the case and not its suitability for class treatment. Id. at *12-13. Here, too,
 26    evidence of class members’ alleged knowledge and the materiality of the defect goes to
 27    the merits, not the suitability of the class.
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  1           BMW also implicitly argues that Dr. Hibbard’s testimony is relevant for the
  2    Court’s consideration of class members’ exposure to third-party sources of information
  3    about Class Cars (BMW’s Hibbard Opp’n at 1), an argument that the Dickey court also
  4    rejected. The core question of the deceptive nature of the defendant’s conduct remains
  5    common to all class members as long as they were exposed to the same conduct. The
  6    court concluded that the third-party exposure argument merely “repurposed” the
  7    previous argument, i.e., both relate only to the individual impact of the defendant’s
  8    conduct, which the plaintiffs did not need to prove, making it unnecessary for the Court
  9    to consider individual differences in class members’ exposure to third-party information
 10    sources. 2019 U.S. Dist. LEXIS 8740, at *15-16.
 11           Likewise, in Escobar v. Just Born, Inc. (where BMW’s counsel is counsel of
 12    record), this Court observed that “expert analysis” purporting to show that some or even
 13    “the majority of the public was not actually misled or deceived” is immaterial because
 14    the Court’s class certification analysis does not permit it “to engage in free-ranging
 15    merits inquiries at this juncture.” 2019 U.S. Dist. LEXIS 167841, at *4-5 (C.D. Cal.
 16    June 19, 2019) (quotation omitted). For the same reasons articulated by the Dickey court
 17    and by this Court in Escobar, the Court should also decline to consider Dr. Hibbard’s
 18    purported expert evidence of class knowledge in this case.
 19    B.     Even for class certification purposes, Dr. Hibbard’s proffered testimony falls
              below the minimal standards of expert reliability.
 20
              1.    The Court must consider Daubert reliability standards when
 21                 considering a challenged expert for purposes of class certification.
 22           BMW makes light of its evidentiary burden, but class certification review does
 23    not “dispense with the standards of admissibility entirely.” Sali v. Corona Reg’l Med.
 24    Ctr., 889 F.3d 623, 634 (9th Cir. 2018). None of the cases BMW discusses authorizes
 25    the Court to entertain a survey with incurably unreliable results. BMW’s Hibbard
 26    Opp’n at 3-4. Fortune Dynamic, Inc. v. Victoria’s Secret Stores Brand Mgmt., 618 F.3d
 27    1025, 1038 (9th Cir. 2010) and Classic Foods Int’l Corp. v. Kettle Foods, Inc., 2006
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  1    U.S. Dist. LEXIS 97200, at *10 (C.D. Cal. Mar. 2, 2006) only permit surveys if “they
  2    are conducted according to accepted principles.” Even Dr. Hibbard acknowledges that
  3    as a standard practice, surveys do not permit compound questions. Dkt. No. 164-6
  4    (“Hibbard Dep.”), at 42:2-43:15. Potts v. Hamilton, holds that such surveys are
  5    incurably unreliable because “compound questions . . . mak[e] it impossible to
  6    determine which element the respondent addressed in his or her response.” 334 F. Supp.
  7    2d 1206, 1217 (E.D. Cal. 2004) (emphasis added). And Plaintiffs identified several
  8    other equally serious deficiencies with Dr. Hibbard’s survey that generate incurably
  9    unreliable survey results.
 10          BMW’s out-of-context quotation from Kamakahi v. Am. Soc’y for Reprod. Med.,
 11    305 F.R.D. 164 (N.D. Cal. 2015), does not justify the Court’s consideration of an
 12    improperly designed and unreliable survey. In the part of the decision quoted by BMW,
 13    the Kamakahi court found that an ethical opinion “however inartfully presented” for the
 14    relevant purpose of understanding the factors that physicians would consider if the
 15    challenged guideline did not exist, could be considered for that purpose at class
 16    certification. Id. at 178-79. Kamakahi does not apply here because BMW does not even
 17    attempt to argue that the Court could rely on Dr. Hibbard’s survey for any evidentiary
 18    purpose other than class member knowledge or materiality. Kennedy v. Collagen Corp.,
 19    161 F.3d 1226 (9th Cir. 1998), also does not help BMW. The issue there was whether
 20    the court had considered all the reasoning and methodologies the expert relied on in
 21    linking the defendant’s drug to the plaintiff’s illness. Id. at 1231. But BMW has not
 22    identified any additional or overlooked reasoning or methodologies that could
 23    resuscitate Dr. Hibbard’s invalid conclusions.
 24          2.     Dr. Hibbard’s reliance on a compound question to probe class member
                    knowledge of the defect makes it impossible to conclude whether
 25                 respondents affirmed knowledge of the range extender function in
                    general or specific to the defect.
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 27          The most obvious deficiency in Dr. Hibbard’s survey is that he poses the question

 28    on knowledge as a compound question. See Dkt. Nos. 175 (sealed) & 162-4 (public)
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 1   (“Plaintiffs’ Hibbard Mot.”), at 8-9. BMW does not disagree that survey results based
 2   on a compound question are inadmissible because of the impossibility of determining
 3   which component the respondent meant to affirm or deny. Potts, 334 F. Supp. 2d at
 4   1217. BMW also does not seek to distinguish the other authorities Plaintiffs cite for this
 5   proposition. Plaintiffs’ Hibbard Mot. at 8-9. Instead, while admitting that Dr. Hibbard’s
 6   question on knowledge has a “compound stimulus,” BMW denies that his question is
 7   compound. BMW’s Hibbard Opp’n at 8-9. Not surprisingly, BMW gets this wrong.
 8         Dr. Hibbard presented the question over two screens. The first screen contains
 9   Dr. Hibbard’s five-sentence description of the range extender. Only the third sentence
10   relates to Plaintiffs’ allegations of defective performance (i.e., sudden deceleration).
11   The subsequent screen asks: “Prior to purchasing or leasing your BMW i3 with Range
12   Extender, were you aware or not aware that the Range Extender operates as described
13   on the previous screen?” The five-sentence description on the first screen serves as the
14   predicate of a closed (i.e., multiple choice) question presented on the second screen, to
15   which respondents may only answer: “yes,” “no,” or “I don’t know.” Dkt. No. 152-21
16   (“Hibbard Report”), ¶¶ 14-15, 38-39; BMW’s Hibbard Opp’n at 8. Because Dr. Hibbard
17   does not ask respondents to respond separately for each assertion contained in his
18   description of the range extender, it is impossible to know which assertion or assertions
19   the respondent affirmed. As a matter of logic and mathematics, there are 32 possible
20   interpretations to a compound question with five components. Plaintiffs’ Hibbard Mot.
21   at 9. Critically, there is no reliable way of knowing whether the responses affirmed
22   knowledge of the range extender’s defective performance, or just its general operation.
23         Tellingly, while BMW claims that this question follows the same design as many
24   other product surveys, it does not provide a single example of a survey that mirrors Dr.
25   Hibbard’s question on class knowledge. BMW’s Hibbard Opp’n at 8. BMW’s shaky
26   analogy to surveys in trade dress cases, which it describes as a concurrent display of
27   multiple images, id., fails because such surveys solicit opinions on likeness. This is
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 1   demonstratively different from Dr. Hibbard’s question on knowledge, which demands
 2   that the respondent make a factual admission, without clarifying whether the admission
 3   addresses any or all of the factual predicates.
 4          As discussed in Plaintiffs’ opening briefing, the court in 1-800 Contacts, Inc. v.
 5   Lens.com, Inc., 2010 U.S. Dist. LEXIS 132948 (D. Utah Dec. 15, 2010) excluded a
 6   survey for several reasons, including that the ambiguity of the central substantive
 7   question produced no reliable results and that a compound question to qualify
 8   respondents left open the possibility that the wrong survey population had been selected.
 9   Id. at *25-27; Plaintiffs’ Hibbard Mot. at 8, 9, 11, & 16. BMW does not address either
10   holding, but it does acknowledge that the structure of Dr. Hibbard’s two-part knowledge
11   question largely resembles the substantive question the court deemed too ambiguous to
12   produce reliable results. BMW’s Hibbard Opp’n at 5. The central substantive question
13   in 1-800 Contacts, was “Do you think that the link marked with the asterisk (*)
14   originates from 1-800-CONTACTS?” and, much like the respondents to Dr. Hibbard’s
15   survey, the respondents had the option of choosing “yes,” “no,” or “don’t know.” 1-
16   800 Contacts, Inc., 2010 U.S. Dist. LEXIS 132948, at *23; BMW’s Hibbard Opp’n at
17   5.   The ambiguity in that case arose from the previous screen, which informed
18   respondents that the search term was “1800contacts” and that the next screen would
19   show the results of that search.      The court found the survey unreliable because
20   respondents could reasonably have responded “yes,” when asked if the highlighted link
21   “originates from 1-800-CONTACTS,” without understanding that the question actually
22   referred to the company itself and not the company name used as a search term. Id. at
23   *25. Like the respondents in 1-800 Contacts, Hibbard’s survey respondents could easily
24   have responded yes to the knowledge question, if they recalled some of the information
25   included in his description but not the information relating to defective performance.
26   Dr. Hibbard’s conclusion that all respondents who answered in the affirmative knew
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 1   about the defect is logically invalid and incurably unreliable because his survey did not
 2   create any other record, from which to decipher their intent.
 3         This flaw also directly impacts the reliability of his conclusion that for 88.1% of
 4   Class members the defect did not materially affect their decision to lease or buy Class
 5   Cars. Plaintiffs’ opening brief discussed several ways, in which this occurred that BMW
 6   does not attempt to address. Plaintiffs’ Hibbard Mot. at 6, 11-12. First, Dr. Hibbard
 7   did not ask any respondents whether it was the defect that mattered, as opposed to the
 8   operation of the range extender as he described it. Hibbard Report, ¶ 62. Second, he
 9   assumed that the defect was immaterial to all respondents, who affirmed knowledge of
10   the information he provided. Only respondents who denied or did not know whether
11   they had prior knowledge, were offered a close-ended (multiple choice) question on
12   materiality and a subsequent open-ended question to explain their response (which
13   Hibbard ignores in drawing his conclusion on materiality). Id. Third, his conclusion
14   relies on responses to the close-ended question that the information probably or
15   definitively would not have affected their decision, but neither he nor BMW provide a
16   rationale for the fact that only 30% of these respondents provided an explanation that
17   reflected an understanding of the defect. Plaintiffs’ Hibbard Mot. at 6, 11-12; Hibbard
18   Dep. at 196:22-197:7. And fourth, BMW does not even address AstraZeneca LP v. TAP
19   Pharm. Prods., 444 F. Supp. 2d 278 (D. Del. 2006), which excluded a survey based on
20   inconsistent results between the open-ended and close-ended responses. Plaintiffs’
21   Hibbard Mot. at 11-12.
22         3.     By including factually inaccurate information in his description of the
                  range extender, Dr. Hibbard guaranteed that no reliable conclusions
23                could be drawn from his survey.
24         The five-sentence predicate to the question on knowledge also included
25   information that would have been objectively false for many of the respondents.
26   Specifically, Dr. Hibbard’s description of the range extender included a check control
27   function (i.e., a warning light and sound that notified the driver when the range extender
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 1   was about to reduce the car’s speed) that did not exist for at least 40% of the Class
 2   Period. Hibbard Report, ¶ 14; Plaintiffs’ Hibbard Mot. at 12; BMW’s Hibbard Opp’n
 3   at 11. Affirmative responses from those, who purchased or leased their cars before this
 4   feature became available are false and obviously cannot be relied upon.
 5         BMW oddly disputes that the information was false for these respondents because
 6   BMW eventually made the check control function available to all cars through a
 7   software update. BMW’s Hibbard Opp’n at 11. But what matters for purposes of Dr.
 8   Hibbard’s survey is the reliability of respondents’ memory. If their cars did not, in fact,
 9   have this feature at the time of purchase or lease, their recollection is false. That some
10   respondents may have affirmed prior knowledge based on a subsequent software update
11   supports Plaintiffs, not BMW, by illustrating the folly of using a survey of memories to
12   establish class members’ prior states of knowledge in the first place.
13         BMW also badly miscalculates the disastrous consequences of this incurable
14   design flaw, which are not limited to the affirmative responses of the respondents who
15   owned or leased the 2014 model. BMW’s Hibbard Opp’n at 11-12. Because Dr.
16   Hibbard did not ask respondents when they purchased or leased their cars, Hibbard
17   Report, Ex. C, and the check control function did not become available until months
18   after the 2015 models entered the market, none of the 109 affirmative responses on
19   knowledge from any owners or lessees of the 2014 and 2015 models can be relied upon.
20   BMW’s Hibbard Opp’n at 11-12. This spares only the 18 affirmative responses from
21   the owners or lessees of the 2016 model—and their responses are unreliable for the
22   additional reasons argued.
23         4.     Dr. Hibbard’s survey is unreliable because it does not merely survey
                  class members’ memories of past knowledge, it suggests false
24                memories.
25         Witness psychology warns against suggestive questions that will create false
26   memories—as Dr. Hibbard’s survey evidently did in the case of respondents who
27   purported to remember a car feature that did not exist at the time they purchased or
28
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 1   leased. To prevent tainting memories, psychologists recommend questions that will
 2   allow the witness to control the narrative. See, e.g., Amina Memon, Christian Meissner
 3   & Joanne Fraser, The Cognitive Interview: A meta-analytic review and study space
 4   analysis of the past 25 years. Psychology Public Policy and Law, 16 PSYCH. PUB. POL.
 5   AND L. 340, 342 (2010); see also Plaintiffs’ Hibbard Mot. at 15-16 (discussing additional

 6   authorities). In the context of a survey, open-ended questions, which provide no pre-set
 7   answers, are more conducive to eliciting untainted memories, as opposed to a close-
 8   ended (i.e., multiple choice) questions, which offer pre-set answers. Id. Dr. Hibbard
 9   designed his survey directly contrary to these recommendations, by presenting a five-
10   sentence paragraph to respondents on one screen and then asking them on a second
11   screen to affirm or deny that they had possession of that information two to three years
12   earlier. Id.
13          At his deposition Dr. Hibbard could not identify any literature that supported his
14   approach to surveying past knowledge. Hibbard Dep. at 65:18-66:4. In its opposition
15   brief, BMW relies solely on 1-800 Contacts for the proposition that that “[a]n open-
16   ended question [is] not required to create a valid survey question.” 2010 U.S. Dist.
17   LEXIS 132948, at *23. BMW’s Hibbard Opp’n at 5. But the court made this
18   observation in the context of reviewing a conventional opinion (likeness) survey, and
19   not, as BMW intends it, as a justification to use close-ended questions in an attempted
20   survey of past knowledge. BMW also does not distinguish AstraZeneca LP v. TAP
21   Pharm. Prods., 444 F. Supp. 2d 278 (D. Del. 2006), discussed in Plaintiffs’ opening
22   brief, where the court found the responses to the open-ended questions more reliable
23   and excluded a survey precisely because the responses to the close-ended responses did
24   not align with them. Plaintiffs’ Hibbard Mot. at 11-12.
25          By focusing solely on Plaintiffs’ objection to close-ended questions, it ignores
26   the larger objection to Dr. Hibbard’s technique of asking respondents to review a set of
27   statements and then asking in a follow-up question whether they had known at the time
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 1   of purchase or lease the information they had just read. BMW’s Hibbard Opp’n at 5-6;
 2   Plaintiffs’ Hibbard Mot. at 15-16. As a matter of common sense, if describing the range
 3   extender function on one screen runs the risk of planting false memories (as it evidently
 4   does), posing the follow-up question on the next screen, whether as an open-ended or a
 5   close-ended question, does nothing to cure that defect.
 6         BMW also wrongly accuses Plaintiffs of applying a “double standard” when they
 7   point out that Dr. Hibbard’s five-sentence representation of the range extender function
 8   runs both the risk of suggesting false memories and the risk of distracting respondents
 9   from reading the description all the way through before responding. BMW’s Hibbard
10   Opp’n at 6. This is not a double standard. Both arguments stem from Plaintiffs’
11   overarching objection to the reliability of a survey of memories.
12         5.     By burying information critical to the defect, Dr. Hibbard increased
                  the risk that respondents would affirm prior knowledge of the range
13                extender function without necessarily noting the disclosure of the
                  defect.
14

15         Dr. Hibbard’s description of the range extender never revealed the critical fact

16   that when the range extender causes Class Cars to decelerate from highway speeds to

17   roughly 35-40 mph, it does so without triggering the brake lights, a condition that

18   Plaintiffs justifiably describe as “terrifying.” Dkt. Nos. 174-1 (sealed) & Dkt. 162-9

19   (public) (“Olczak Dep.”), at 295:21-22. But the crucial point is not that Dr. Hibbard

20   failed to embrace the term “terrifying” to describe this experience or even that he failed

21   to include all relevant facts relating to the defect, but that he buried the only information

22   relating to the defect (sudden deceleration) in the third of a five-sentence description.

23   Plaintiffs’ Hibbard Mot. at 6. This essentially guaranteed that some respondents, rushing

24   through Dr. Hibbard’s three-minute survey, would fail to notice it, an inference

25   supported by the relatively few respondents, who mentioned speed reduction in their

26   open-ended responses on materiality. Plaintiffs’ Hibbard Mot. at 11-12. This placement

27   of information relevant to the defect, in the third of five sentences, makes Dr. Hibbard’s

28   question far more misleading than the question that the Potts court highlighted in its
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 1   order excluding survey evidence. 334 F. Supp. 2d at 1217 n.9 (“If a dentist promoted
 2   himself or herself as a fellow of the American Academy of Implant Dentistry and has
 3   achieved the distinction of diplomate of the American Board of Oral Implantology
 4   through successful completion of experiential, educational and testing requirements,
 5   would you consider that dentist to be a specialist in implant dentistry?”); BMW’s
 6   Hibbard Opp’n at 6-7.
 7         Nor are Plaintiffs arguing from a “glass house.” BMW’s Hibbard Opp’n at 7. Dr.
 8   Hibbard’s survey attempts to establish a record of class member knowledge of the defect
 9   by directly asking respondents to confirm or deny prior familiarity with a description of
10   the range extender that included an allegation about the defect. The structure of his
11   question, including its length and the placement of information relevant to the defect
12   bears directly on his survey’s ability to reliably capture class members’ memory of their
13   prior knowledge. In contrast, Plaintiffs’ conjoint survey is a widely accepted and
14   reliable analytical method to measure the impact of deceptive omissions on consumer
15   preferences. Class Cert. Br. at 23; Dkt. Nos. 176 (sealed) & Dkt. 162-7 (public)
16   (“Plaintiffs’ Gaskin Opp’n ”), at 3-4. It calculates this impact through a statistical model
17   generated from survey respondents’ selection of choice sets provided by the survey. Id.
18   The length of questions posed by Plaintiffs’ conjoint survey is commensurate with its
19   purpose and does not run the same risks as Dr. Hibbard’s survey.
20         6.     The absence of appropriate controls further negates the reliability of
                  Dr. Hibbard’s so-called “controlled study.”
21
           The purpose of a controlled study is to eliminate the influence of unintended
22
     variables that affect the reliability of the results, such as the tendency of survey
23
     respondents to submit an incorrect answer because they were distracted or responded
24
     without adequately attending to the question. Appropriate controls allow the survey
25
     designer to measure the impact of these unintended influences on the respondents’
26
     responses and to adjust the survey results to account for them. Plaintiffs’ Hibbard Mot.
27
     at 16-17. Ideally, to accurately measure the error rate attributable to the unintended
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 1   influences, the designer would create control questions that generate the same level of
 2   interest that the target question does. Id. at 18. Notably, Dr. Hibbard does not
 3   intentionally control for the fallibility of respondents’ memories, but his erroneous
 4   inclusion of the check control feature effectively serves that purpose by causing a large
 5   number of respondents to answer incorrectly, (Section II.B.3), setting up an extremely
 6   high and unacceptable error rate.
 7         Dr. Hibbard implemented two controls: the Drone Option and the London
 8   Question. BMW’s Hibbard Opp’n at 14. By BMW’s own admission, the “Drone
 9   Option [control] is obviously false,” id., and like a dead give-away question on a quiz,
10   it does not generate enough interest and attention to reliably control for distraction and
11   inattentiveness. Instead the Drone Option provides an ideal foil for BMW’s assertion
12   that there was “almost zero margin of error” in his survey. Id. Dr. Hibbard’s other
13   control, the London Question, provides a similar foil. Both questions solicit obvious
14   responses and require little attention to respond accurately, as opposed to the target
15   questions on memories, which are much more error-prone. Consequently, his controls
16   do not accurately estimate and control for the unintended influences on the survey
17   responses. The “I don’t know” choice likewise does not alleviate the tendency towards
18   inattention or to answer hastily without full comprehension, and it obviously served as
19   an inadequate control to prevent the many false answers to the target question on
20   knowledge. Id.
21         Relatedly, one can also control for reliability by comparing the results with real-
22   world expectations. Plaintiffs will not repeat here the extensive record showing the near
23   absence of any public information of the defect during the Class Period that directly
24   refutes Dr. Hibbard’s extraordinary conclusion that 60.6% of the class members knew
25   about it at the time of purchase or lease. Class Cert. Br. at 7-8; Class Cert. Reply at 6-
26   12; Plaintiffs’ Hibbard Mot. at 8-9. Instead, Plaintiffs focus on a single salient point.
27   Specifically, one would anticipate that the longer a product exists in the market, the
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 1   more familiar the public becomes with it, warts and all. Plaintiffs’ Hibbard Mot. at 14.
 2   BMW does not deny that owners or lessees of the 2014 models affirmed prior
 3   knowledge of the information Dr. Hibbard provided in his survey at a higher rate than
 4   owners and lessees of the 2015 model, who in turn affirmed at a higher rate than owners
 5   and lessees of the 2016 model. BMW’s Hibbard Opp’n at 12. It also does not deny that
 6   taken at face value, these survey results show an unexpected stagnation of professed
 7   knowledge. Id. at 13. In response, BMW merely argues that a decline in professed
 8   knowledge is not statistically supported, id. at 12-13, but whether expressed as
 9   stagnation or decline, Dr. Hibbard’s results run directly contrary to an anticipated
10   increase in public knowledge, which BMW simply cannot account for.
11          Instead, by way of deflection, BMW disingenuously argues that by pointing out
12   this discrepancy in his data, Plaintiffs make “a stunning admission” about the record on
13   class knowledge. Id. at 1. Plaintiffs obviously make no concessions about the record
14   of class knowledge, nor are they required to establish “class-wide ignorance.” Id.
15          Finally, Dr. Hibbard conducted a soft launch, which consisted of confirming that
16   respondents’ answers were recorded and loaded properly and that the survey questions
17   sequenced properly. Id. at 9-10. BMW argues that this qualifies as pre-testing, but
18   BMW makes Plaintiffs argument for them when it acknowledges that Dr. Hibbard did
19   not interview respondents to determine whether they understood his questions. Id.; see
20   also 1-800 Contacts, 2010 U.S. Dist. LEXIS 132948, at *25 (criticizing the survey
21   expert for failing to pretest to uncover “unexpected question interpretation”). And it
22   does not deny that he could have avoided some of his serious survey flaws by doing so.
23   Plaintiffs’ Hibbard Mot. at 10-11.
24   C.     BMW’s criticisms of Plaintiffs’ conjoint survey are unsupported.
25          In a transparent effort to deflect from the valid concerns raised about its own
26   expert by this motion, BMW broadly complains that Plaintiffs’ expert “used the wrong
27   tool altogether (i.e., a conjoint survey) and [made] faulty assumptions of classwide
28
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 1   ignorance.” BMW’s Hibbard Opp’n at 2. BMW is wrong on both counts. Mr. Gaskin’s
 2   conjoint survey does not operate under any assumptions of class member knowledge. It
 3   is also the preferred method of measuring the market impact of a deceptive omission.
 4            Schechner v. Whirlpool Corp., 2019 U.S. Dist. LEXIS 171642 (E.D. Mich. Aug.
 5   13, 2019), which BMW relies on heavily in its Daubert reply briefs1 confirmed that the
 6   conjoint methodology that Mr. Gaskin also applies here, was admissible. Id. at *19.
 7   But for reasons unrelated to the case here, the court concluded that it did not satisfy
 8   Comcast Corp. v. Behrend, 569 U.S. 27 (2013), because the survey coined a new
 9   marketing label (“Partial clean”) for poorly performing, self-cleaning ovens, which does
10   not exist in the actual marketplace of self-cleaning ovens and therefore could not reflect
11   historical supply side factors for that market. Id. at 21 n.7. Plaintiffs’ survey, which
12   does not introduce any new and unfamiliar labels, is not vulnerable to that charge.
13   BMW does not support its contention that the Schechner court would disapprove of Mr.
14   Gaskin’s treatment of car prices in the survey as manufacturer suggested retail prices
15   (MSRPs),2 by anything more than conjecture, and tellingly, BMW fails to acknowledge
16   that Mr. Gaskin’s survey relied on actual market prices for the Class Cars that prevailed
17   during the Class Period and that he instructed respondents to treat the prices—as they
18   would treat MSRPs in real-life—as the starting point of any negotiations, discounts or
19   federal or state credits. Dkt. No. 125-32 (“Gaskin Report”), ¶¶ 21, 41. Further, BMW
20   ignores the many opinions in which courts rejected efforts to exclude conjoint surveys
21   and otherwise relied on such surveys to certify classes. See, e.g., Hadley v. Kellogg
22   Sales Co., 324 F. Supp. 3d 1084, 1103-1111 (N.D. Cal. 2018); In re Arris Cable Modem
23

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        1
           Dkt. No. 168 (“BMW’s Weir Reply”), at 1-5; Dkt. No. 167 (“BMW’s Gaskin
25   Reply”), at 1, 2, & 7. Plaintiffs had no earlier opportunity to address this decision
     because Lexis and Westlaw had not published it until after Plaintiffs filed their
26   opposition briefs. See Declaration of Barbara A. Mahoney in Support of Plaintiff’s
     Reply in Support of Motion to Exclude Opinions of Dr. Jonathan Hibbard and
27   attachments (filed herewith).
         2
28         BMW’s Gaskin Reply at 7; BMW’s Weir Reply at 2.
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 1   Consumer Litig., 327 F.R.D. 334, 370-74 (N.D. Cal. 2018); see also Plaintiffs’ Gaskin
 2   Opp’n at 13-14 (discussing numerous other decisions).
 3                                   III.   CONCLUSION
 4          The Court should disregard Dr. Hibbard’s unsubstantiated conclusions about
 5   class member knowledge and materiality because this evidence has no bearing on
 6   Plaintiffs’ motion to certify claims that do not require proof of actual deception or
 7   reliance. The Court should also disregard it because even the relaxed evidential standard
 8   at class certification does not permit consideration of junk science.
 9
10
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